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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

v.                                           Case No.: 5:20cr28-MW/MJF

MARGO DEAL ANDERSON, et al.,

     Defendants.
__________________________________/
               ORDER GRANTING IN PART AND DENYING
               IN PART MOTION FOR RECONSIDERATION

      About two months ago, this Court granted Defendants’ motions to dismiss

Count 1—charging conspiracy to commit honest services fraud—from the second

superseding indictment. ECF No. 293. As this Court explained, it had confronted a

similar issue when it dismissed Count 1 from the superseding indictment. Grouping

the superseding indictment’s factual allegations into five “projects,” this Court had

held that three “projects” (17th street, debris disposal, and rebuild) made up one

conspiracy, but that two “projects” (ECS and WorldClaim) stood on their own.

Because the superseding indictment mashed all of these “projects” together into one

conspiracy count, this Court dismissed that count as duplicitous. See ECF No. 185.

The Government then obtained a second superseding indictment. ECF No. 214.

      In fairness to the Government, the second superseding indictment—which

remains the operative indictment—does not so clearly charge all five projects
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together. Rather, it sets out essentially the same factual allegations as the superseding

indictment, describing in chronological order each of the five “projects.” See ECF

No. 215 ¶¶ 1–122. Then, incorporating those factual allegations, Count 1 charges

Anderson and Finch with conspiracy to commit honest services wire fraud:

             The manner and means of the conspiracy were that the defendant
      and conspirators used ANDERSON’s public official position as the
      Mayor of Lynn Haven . . . to offer, give, solicit, receive, agree to accept,
      and accept things of value from FINCH, which were offered and
      provided by FINCH to ANDERSON . . . with the intent that [she]
      would be influenced in the performance of official acts. ANDERSON
      agreed to accept and did accept things of value from FINCH with the
      intent that she would be influenced in the performance of official acts
      related to specific matters, to wit, FINCH’s business interests before,
      including the 17th Street project, projects under the ½ Cent Surtax
      contract, and City business for hurricane recovery, as specific
      opportunities arose.

ECF No. 215 ¶ 125.

      Ultimately, this Court found that the second superseding indictment remained

duplicitous. Its duplicity had two causes. First, by describing the charged conspiracy

as “including” the three projects that this Court found form one conspiracy, Count 1

implied that those projects are only part of a non-exhaustive list of schemes making

up the overarching conspiracy (which, on its own, is permissible). Second, Count 1

incorporated extensive factual allegations about the remaining two projects. Reading

the non-exhaustive list of schemes along with the incorporated facts, this Court

found that the second superseding indictment again impermissibly charged all five



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“projects” as one conspiracy. The Government now asks this Court to reconsider that

order.

                                                I

         Unlike the Federal Rules of Civil Procedure, the Federal Rules of Criminal

Procedure do not explicitly authorize motions for reconsideration. Still, federal

Courts have long permitted such motions—evaluating them under the applicable

civil standard. See United States v. Phillips, 597 F.3d 1190, 1199 (11th Cir. 2010).

         For its part, the Government says that “[a] motion for reconsideration must

demonstrate why the court should reconsider its prior decision.” Fla. Coll. of

Osteopathic Med., Inc. v. Dean Witter Reynolds, Inc., 12 F. Supp. 2d 1306, 1308

(M.D. Fla. 1998). True, but typically “a motion to reconsider should raise new issues,

not merely readdress issues previously litigated.” Id. Defendants, on the other hand,

focus on the stringent reconsideration standard under Rules 59 and 60. But the less-

stringent Rule 54 is also in play. See United States v. Loera, 182 F. Supp. 3d 1173,

1200 (D.N.M. 2016), aff’d, 923 F.3d 907 (10th Cir. 2019) (explaining that “motions

to reconsider in civil cases fall into three categories:” Rule 59 motions, Rule 60

motions, and Rule 54 motions).1 This Court’s prior order dismissing Count 1 is a




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         Rule 59(e) governs motions to reconsider a judgment filed within twenty-eight days of a
court’s entry of judgment. Rule 60(b) governs motions to reconsider a judgment filed after twenty-
eight days of a court’s entry of judgment. And Rule 54(b) governs motions to reconsider non-final
orders.
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non-final order. See United States v. Kelly, 849 F.2d 1395, 1397 (11th Cir. 1988).

Thus, Rule 54 applies. “Under Rule 54(b), the trial court is free to reconsider and

reverse its decision for any reason it deems sufficient, even in the absence of new

evidence or an intervening change in or clarification of the substantive law.” Austin

v. Kroger Tex., L.P., 864 F.3d 326, 336 (5th Cir. 2017) (quotations omitted). But this

Court must apply some standard, and it finds the three factors set out in Loera

persuasive. 182 F. Supp. 3d at 1206–08.

      First, this Court considers its original ruling’s thoroughness. The more

thorough; the more deference. Second, this Court considers the case’s procedural

posture. The further along; the more deference. Third, this Court considers the Rule

59 and 60 tripartite analysis; namely, asking whether there is “(1) an intervening

change in controlling law,” (2) new evidence, or (3) “the need to correct clear error

or manifest injustice.” Dean Witter Reynolds, Inc., 12 F. Supp. 2d at 1308.

      This Court’s order dismissing Count 1 is no law review article. But it is fairly

thorough—taking up about seven pages of facts and analysis. ECF No. 293 at 1–7.

Plus, given that this case has been pending for two years, the Government’s motion

comes at a late stage. Finally, none of the traditional reconsideration factors weigh

in the Government’s favor. All in all, the Loera factors suggest that this Court should

approach the Government’s motion with a healthy amount deference towards its

prior order. With that in mind, this Court turns to the Government’s arguments.

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                                         II

      This Court divides its discussion into two parts. First, this Court addresses,

and ultimately reaffirms, its conclusion that Count 1 is duplicitous. Second, this

Court addresses, and ultimately reconsiders, its conclusion that no remedy short of

dismissal can cure that duplicity.

                                         A

      Start with duplicity. In asking this Court to reconsider its prior order, the

Government mainly focuses on language from Count 1 alleging that Anderson

agreed to take “official acts related to . . . FINCH’s business interests.” ECF No.

215 ¶ 125. Citing that language, the Government’s argument relies on the following

syllogism. Count 1 charges Defendants with conspiring to trade official acts favoring

Finch’s “business interests” for bribes. And the WorldClaim and ECS schemes are

unrelated to Finch’s “business interests.” Thus, because Count 1 relates only to

Finch’s “business interests,” it cannot possibly include the WorldClaim and ECS

schemes within the charged conspiracy.

      But, for much of the pendency of this case, the Government argued the

opposite. For example, the Government has long argued that the meeting alleged in

paragraph 72 of the second superseding indictment tied Finch to the ECS scheme

such that—along with 17th street, debris disposal, and rebuild—it formed a single

conspiracy. See ECF No. 159 at 16–18. To be sure, this Court determined that the

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allegations in paragraph 72 could not to fuse these separate conspiracies into one.

But the fact that the Government has previously (and very nearly convincingly)

made the argument that the ECS scheme furthered Finch’s interests seriously

undercuts its argument that Count 1 cannot possibly be read to include at least the

ECS scheme as part of the charged conspiracy. 2

       The Government’s other arguments fair no better. To be sure, this Court agrees

with the Government that incorporating factual allegations describing multiple

crimes into a single count does not necessarily mean that the count charges multiple

crimes. See Fed. R. Crim. P. 7(c)(1) (“A count may incorporate by reference an

allegation made in another count.”). For example, as in the case the Government

cites, facts relevant to conspiring to distribute controlled substances may also be

relevant to maintaining a facility to distribute controlled substances. United States v.

Buckingham, 418cr376, 2018 WL 6570874, at *3 (N.D. Ala. Dec. 13, 2018).

       But the same is not true here. Facts related to—for example—the WorldClaim

project are not relevant to proving the charged conspiracy. Unless, of course, the

WorldClaim project is charged as part of that conspiracy. And at any rate, the second



       2
          The Government accuses Defendants of talking out of both sides of their mouths by
arguing that no allegations tie Finch to the ECS and WorldClaim schemes while claiming that
Count 1 charges Finch and Anderson with conspiring in relation to those schemes. But that is not
a fair characterization of Defendants’ argument. Defendants argue that—despite the lack of
allegations tying Finch to the ECS and WorldClaim schemes—the second superseding indictment
once again incorporates those schemes within an overarching conspiracy count. See ECF No. 225
at 4–7; ECF No. 226 at 2.
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superseding indictment does more than merely incorporate factual allegations

describing multiple crimes into a single count; it incorporates allegations describing

multiple schemes, and then frames the charged conspiracy broadly alongside a non-

exhaustive list of charged schemes. This Court stands by its conclusion that the most

natural reading of this construction is that the WorldClaim and ECS schemes are

incorporated within Count 1’s non-exhaustive list.

      Further, this Court’s order does not undercut the retainer theory of bribery. To

be sure, when they form their conspiracy, the conspirators need not know exactly

what actions the bribed official may undertake in furtherance of the conspiracy. That

is fine. The problem here is the unique combination of an open-ended list of charged

schemes coupled with incorporated factual allegations pertaining to other schemes.

In short, as whether Count 1 is duplicitous, this Court remains convinced that it is.

                                          B

      Turning to remedies, the Government also attacks this Court’s decision to

dismiss rather redress Count 1’s duplicity through special jury instructions. This

argument carries more force. This Court must not dismiss a count “when a less

drastic ruling will suffice.” United States v. Goodman, 285 F.2d 378, 380 (5th Cir.

1960). And the remedies for duplicity “vary according to the particular harm or

harms to be avoided and the stage of the proceeding at which the threatened harm or

harms arise.” United States v. Sturdivant, 244 F.3d 71, 79 (2d Cir. 2001). Thus, in

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some cases, only dismissal will suffice. But in others—typically before conviction—

“having the government elect to proceed based upon only one of the district crimes

included within a duplicitous count” or “a jury instruction that ensures that the jury

is unanimous as to the conduct underlying the conviction” will redress any duplicity.

Id.

      When it came to the superseding indictment, this Court held that neither a

curative jury instruction nor an election could redress its duplicity—the allegations

were simply too intermingled. See ECF No. 185 at 7. But, as this Court

acknowledged above, the second superseding indictment does not allege all five

projects in the same intermingled way. The problem here stems instead from its

incorporation of facts related to other counts. Given that distinction, this Court was

too hasty to again dismiss Count 1. Forcing the Government to elect—as it

essentially already has—not to pursue the ECS or WorldClaim conspiracies, along

with a jury instruction telling the Jury that Count 1 is limited to the 17th street, debris

disposal, and rebuild conspiracy, is enough to diffuse Count 1’s duplicitousness.

Because this Court has an obligation to impose the least drastic remedy, it agrees

that—while Count 1 is duplicitous—it should not have granted the motions to

dismiss.

      For these reasons,

      IT IS ORDERED:

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1. The Government’s motion for reconsideration, ECF No. 317, is

   GRANTED in part and DENIED in part.

2. This Court’s order granting Defendants’ motions to dismiss, ECF No. 293,

   is VACATED and Count 1 is reinstated.

3. The Government must file a notice confirming its election to pursue only

   the 17th street, debris disposal, and rebuild conspiracy charged in Count 1

   on or before August 19, 2022.

4. When the parties submit proposed jury instructions in this case, they must

   also submit a proposed instruction addressing the duplicity issue.

SO ORDERED on August 16, 2022.

                                       s/Mark E. Walker
                                       Chief United States District Judge




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